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11                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                   OAKLAND DIVISION

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     PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
14   themselves and all others similarly situated,
                                                     [PROPOSED] ORDER GRANTING
15          Plaintiffs,                              MOTION TO WITHDRAW MOTION TO
                                                     SUBSTITUTE PLAINTIFFS
16          v.

17   GOOGLE LLC,

18          Defendant.

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     Case 4:20-cv-05146-YGR         Document 626        Filed 04/19/22   Page 2 of 2



 1                                       [PROPOSED] ORDER
 2          Having considered the pending Motion to Withdraw Plaintiffs’ Motion to Substitute, and
 3   all papers filed in response thereto, the Court hereby GRANTS the Motion. The Motion to

 4   Substitute Plaintiffs, Dkt. No. 303, is WITHDRAWN without prejudice. The Clerk shall terminate
 5   the Motion without further order from the Court.
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 7          IT IS SO ORDERED.
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 9   Dated: April 19, 2022
                                                        HON. YVONNE GONZALEZ ROGERS
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                                                        UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER RE
     PLS. MOT. TO WITHDRAW                          1          CASE NO. 4:20-CV-05146-YGR-SVK
